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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                                               Case No. 3:12-cr-034
                       Plaintiff,
                                                               Judge Thomas M. Rose
-v-

ROBERT HILL, et al.,

                  Defendants.
______________________________________________________________________________

      ENTRY AND ORDER OVERRULING ROBERT HILL’S MOTION TO
      SUPPRESS (Doc. #93) AS MOOT
______________________________________________________________________________

         In this Motion To Suppress, Robert Hill challenges the admissibility of any evidence

gained as a result of the searches of the cell phones seized in the June 8, 2011 and March 19,

2012 incidents. The Government has responded that, although it intends to introduce at trial

these cell phones as well as the fact of their seizure from Robert Hill, it will not use in its case-

in-chief at trial any content recovered from these cell phones. (Doc. #160.)

         Since the Government has represented to the Court that it does not intend to use evidence

gained as a result of its searches of the cell phones seized in the June 8, 2011 and March 19,

2012 incidents in its case-in-chief, Robert Hill’s Motion To Suppress is moot. Therefore, Robert

Hill’s Motion To Suppress is overruled as being moot.

         DONE and ORDERED in Dayton, Ohio this Twenty-Eighth Day of February, 2013.


                                                                     s/Thomas M. Rose
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                                                                      THOMAS M. ROSE
                                                             UNITED STATES DISTRICT JUDGE
Copies furnished to: Counsel of Record
